Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 1 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 2 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 3 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 4 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 5 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 6 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 7 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 8 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 9 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 10 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 11 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 12 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 13 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 14 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 15 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 16 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 17 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 18 of 19
Case 1:13-cv-00233 Document 1-2 Filed on 12/09/13 in TXSD Page 19 of 19
